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                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH

__________________________________________

CORPORATIONS FOR CHARACTER, L.C.          :
                                          :               [PROPOSED] ORDER
                      Plaintiff,          :
                                           :
                                           :
       v.                                  :                 No. 2:11-cv-0419-CW
                                           :
FEDERAL TRADE COMMISSION, a                :
Federal Administrative Agency,            :
                                           :
                      Defendant.           :
__________________________________________


       Upon consideration of the Plaintiff’s Motion to Consolidate the case United States of

America v. Feature Films for Families, Inc., Corporations for Character, L.C., Family Films of

Utah, Inc., and Forrest Sandusky Baker, III, No. 2:12-cv-00811-TS, a case recently transferred

to this District from the Northern District of Florida pursuant to 28 U.S.C. § 1404(a), with the

above-captioned matter, the Court, having considered the Motion, and good cause appearing

therefore, hereby

GRANTS the Motion.


Dated this _____
           6th day of _______,
                      Sept.    2012.

                                                     _____
                                                        ___________ ______________________
                                                     ________________________________
                                                     Judge Clark Waddoups
                                                     U.S. District Judge
